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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN


SHARINA JONES, Individually,             :
                                         :
              Plaintiff,                 :
                                         :
v.                                       :              Case No. 2:17-cv-14080
                                         :
JAQ ENTERPRISES, LLC                     :
A Limited Liability Company              :
                                         :
              Defendant.                 :
_______________________________________/ :

                                          COMPLAINT


        Plaintiff, Sharina Jones (hereinafter “Plaintiff”), hereby sues the Defendant, JAQ

Enterprises, LLC a Domestic Limited Liability Company (hereinafter “Defendant”), for

Injunctive Relief, and attorney’s fees, litigation expenses, and costs pursuant to the Americans

with Disabilities Act, 42 U.S.C. §12181 et seq. (“ADA”), and for damages pursuant to the

Michigan Persons With Disabilities Civil Rights Act (“PDCRA”), MCL 37.1101 et. seq. In

support thereof, Plaintiff states:

1.      This action is brought by Sharina Jones, and all persons similarly situated, pursuant to the

enforcement provision of the Americans With Disabilities Act of 1990 (“ADA”), 42 U.S.C.

12188(a) and the Michigan Persons with Disabilities Civil Rights Act (“PDCRA”), MCL 37.1101

et. seq., against the owners and/or operators of the Green Dot Stables restaurant.

2.      This Court has jurisdiction pursuant to the following statutes:

                a.      28 U.S.C. §1331, which governs actions that arise from the Defendant’s

        violations of Title III of the Americans with Disabilities Act, 42 U.S.C. §12181 et seq. See

        also 28 U.S.C. §2201 and §2202.
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                b.     28 U.S.C. §1331, which gives District Courts original jurisdiction over civil

       actions arising under the Constitution, laws or treaties of the United States; and

                c.     28 U.S.C. §1343 (3) and (4), which gives District Courts jurisdiction over

       actions to secure civil rights extended by the United States government.

3.     Venue is proper in this judicial district and division. Defendant does business in the State

of Michigan, and all of the acts of discrimination alleged herein occurred in this judicial district

and division.

                                            PARTIES

4.     Plaintiff Sharina Jones is a resident of Genesee County, uses a wheelchair, and is an

individual with a disability within the meaning of ADA, 42 U.S.C. 12102(2), 28 C.F.R. 36.104,

and MCL 31.1103..

5.     Plaintiff Sharina Jones is substantially limited in performing one or more major life

activities, including but not limited to, walking and standing.

6.     Plaintiff Sharina Jones has been to the Green Dot Stables restaurant located at 2200 W

Lafayette Blvd, Detroit, MI.

7.     Plaintiff Sharina Jones was a guest at the Green Dot Stables restaurant on May 3, 2017.

8.     The Green Dot Stables restaurant is a place of public accommodation within the meaning

of Title III of the ADA, 42 U.S.C. 12181, 28 C.F.R. 36.104, and MCL 37.1301.

9.     Defendant owns, leases, leases to, or operates Green Dot Stables restaurant and is

responsible for complying with the obligations of the ADA and the PDCRA.




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                                               COUNT I

                                   VIOLATION OF THE ADA

10.     Plaintiff realleges paragraphs one (1) through eleven (9) of this Complaint and

incorporates them here as if set forth in full.

11.     Plaintiff is a frequent visitor to the area for vacations and events, has visited the property

which forms the basis of this lawsuit, has returned to the property, and has definite plans to

return to the property in January 2018 to avail herself of the goods and services offered to the

public at the property.

12.     There are numerous architectural barriers present at Green Dot Stables restaurant that

prevent and/or restrict access by Plaintiff, in that several features, elements, and spaces of the

plaza at Green Dot Stables restaurant are not accessible to or usable by Plaintiff, as specified in

28 C.F.R 36.406 and the Standards for Accessible Design, 28 C.F.R., Pt. 36, Appendix A (‘the

Standards”).

13.     Elements and spaces which there are barriers to access at Green Dot Stables restaurant

include, but are not necessarily limited to:

        a.      There are no designated disabled parking signs to indicate where the accessible

parking spaces are for patrons in wheelchairs.

        b.      The designated accessible parking spaces are in such poor disrepair that they are

unusable by and individual in a wheelchair.

        c.      There are not enough accessible parking spaces for an individual in a wheelchair

to utilize.

        d.      The toilet in the public restroom is completely inaccessible to an individual in a

wheelchair.
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           e.     The urinal in the public restroom is too high for an individual in a wheelchair to

utilize.

           f.     The door to the public restroom closes too fast for an individual in a wheelchair to

utilize.

           g.     The bar in the restaurant is too high for an individual in a wheelchair to utilize.

           h.     There are no accessible tables in the dining area for an individual in a wheelchair

to utilize.

           i.     There is no accessible route between the tables and around the restaurant for an

individual in a wheelchair to access the property.

           j.     The entrance door closes too fast for an individual in a wheelchair to utilize.

14.        The discriminatory violations described in paragraph 13 of this Complaint were

personally encountered by Plaintiff. The Plaintiff has been denied access to, and has been denied

the benefits of, services, programs and activities of the Defendant’s buildings and facilities, and

has otherwise been discriminated against and damaged by the Defendant because of the

Defendant’s ADA violations, as set forth above.

15.        The Plaintiff will continue to suffer such discrimination, injury and damage without the

immediate relief provided by the ADA as requested herein. The Plaintiff has been denied access

to, and has been denied the benefits of services, programs and activities of the Defendants’

buildings and its facilities, the opportunity to use such elements, and has otherwise been

discriminated against and damaged by the Defendants because of the Defendants’ ADA

violations, as set forth above.

16.        Plaintiff has standing to sue for every barrier to access for the mobility-impaired that

exists on the subject premises. Sharina Jones has standing to require that all barriers to access on
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the property for the mobility-impaired are corrected, not merely only those Sharina Jones

personally encountered.

17.    Defendants' failure to remove the architectural barriers identified in paragraph thirteen

(13) constitutes a pattern or practice of discrimination within the meaning of 42 U.S.C. 12188

(b)(1)(B)(i) and 28 C.F.R. 36.503 (a).

18.    It would be readily achievable for the Defendant to remove the architectural barriers

identified above.

19.    Defendant is required to remove the existing architectural barriers to the physically

disabled when such removal is readily achievable for its place of public accommodation that

have existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative, if there has been an

alteration to Defendant’s place of public accommodation since January 26, 1992, then the

Defendant is required to ensure to the maximum extent feasible, that the altered portions of the

facility are readily accessible to and useable by individuals with disabilities, including

individuals who use wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facility is one

which was designed and constructed for first occupancy subsequent to January 26, 1993, as

defined in 28 CFR 36.401, then the Defendant’s facility must be readily accessible to and

useable by individuals with disabilities as defined by the ADA.

20.    The Defendant has discriminated against Plaintiff by denying her access to, and full and

equal enjoyment of, the goods, services, facilities, privileges, advantages and/or accommodations

of the buildings, as prohibited by 42 U.S.C. § 12182 et seq. and 28 CFR 36.302 et seq

21.    Defendant continues to discriminate against the Plaintiff, and all those similarly situated,

by failing to make reasonable modifications in policies, practices or procedures, when such


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modifications are necessary to afford all offered goods, services, facilities, privileges, advantages

or accommodations to individuals with disabilities.

22.    Sharina Jones has a realistic, credible, existing and continuing threat of discrimination

from the Defendant’s non-compliance with the ADA with respect to this property as described,

but not necessarily limited to, the allegations in paragraph 13 of this Complaint. Plaintiff has

reasonable grounds to believe that she will continue to be subjected to discrimination in

violations of the ADA by the Defendants.

23.    Plaintiff is aware that it will be a futile gesture to re-visit the property until it becomes

compliant with the ADA, unless she is willing to suffer further discrimination.

24.    Plaintiff is without an adequate remedy at law and is suffering irreparable harm. Plaintiff

has retained the undersigned counsel and is entitled to recover attorney’s fees, costs and

litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.

25.    Notice to Defendant is not required as a result of the Defendant’s failure to cure the

violations by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees

and gross receipts of $500,000 or less). All other conditions precedent have been met by

Plaintiffs or waived by the Defendant.

26.    Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

Injunctive Relief, including an order to require the Defendant to make the property readily

accessible and useable to the Plaintiff and all other persons with disabilities as defined by the

ADA; or by closing the facility until such time as the Defendant cures its violations of the ADA.




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                                             COUNT II

                                 VIOLATION OF THE PDCRA

27.     Plaintiff realleges paragraphs one (1) through twenty-six (26) of this Complaint and

incorporates them here as if set forth in full.

28.     The Defendant has discriminated against Plaintiff by denying her the full and equal

enjoyment of the goods, services, facilities, privileges, advantages, and accommodations of a

place of public accommodation because of a disability, as prohibited by MCL 37.1302.

29.     Plaintiff has desired and attempted to enjoy the goods and services at Green Dot Stables

restaurant as a patron. She has been prevented from doing so due to the existing architectural

barriers at the property. As a result, she has been distressed and inconvenienced thereby, and is

entitled to monetary damages for her injuries, as provided for in MCL 37.1606.

30.     As a result of being denied full access to the property, Plaintiff has suffered, and will

continue to suffer, emotional distress, humiliation, anxiety, anger, a loss of enjoyment of life, and

other consequential and incidental damages.



                                      PRAYER FOR RELIEF

32.     Because Defendant has engaged in the acts and practices described above, Defendant has

violated the law as alleged in this Complaint and unless restrained by this Honorable Court,

Defendant will continue to violate the Constitution and laws of the United States of America, and

the State of Michigan, and will cause injury, loss and damage to the Plaintiff, and all others so

similarly situated.

WHEREFORE, Plaintiff respectfully requests that this Court:


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       A.     Declare that Defendant has violated title III of the Americans with Disabilities

Act, 42 U.S.C. § 12181 et seq, 28 C.F.R. pt. 36, and the Michigan Persons With Disabilities

Civil Rights Act (“PDCRA”), MCL 37.1101 et. seq.

              i.      by failing to bring Green Dot Stables restaurant into compliance with the

              Standards where it is readily achievable to do so; and

              ii.     by failing to take other readily achievable measures to remove

              architectural barriers to access when it is not readily achievable to comply fully

              with the Standards.

       B.     Order Defendant:

              i.      to make all readily achievable alterations to the facility; or to make such

              facility readily accessible to and usable by individuals with disabilities to the extent

              required by the ADA;

              ii.     to make reasonable modifications in policies, practices or procedures, when

              such modifications are necessary to afford all offered goods, services, facilities,

              privileges, advantages or accommodations to individuals with disabilities

       C.     Award damages to Sharina Jones who has been aggrieved and injured by the

illegal acts of discrimination committed by Defendant;




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      D.    Award attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

§ 12205 and MCL 37.1606.

      E.    Order such other appropriate relief as the interests of justice may require.

                                           Respectfully Submitted,



                                           By: /s/ Pete M. Monismith_________
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